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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TENNESSEE
                             EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
            Plaintiff,                )
                                      )
v.                                    )           Cr. No. 17-cr-10105-STA
                                      )
TAMMY RANGER,                         )
                                      )
            Defendant.                )



                         ORDER AND NOTICE OF RESETTING



      The Government has moved this Court to continue the sentencing hearing in the

above matter.

      Wherefore, for good cause, the sentencing hearing is reset to WEDNESDAY,

JULY 3, 2019, at 9:30 a.m.

      IT IS SO ORDERED this 19th day of June, 2019.




                                      s/S. Thomas Anderson
                                  S. THOMAS ANDERSON
                                      CHIEF UNITED STATES DISTRICT JUDGE
